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                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                         UNITED STATES DISTRICT COURT                             June 28, 2024
                                                                               Nathan Ochsner, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                              MCALLEN DIVISION

ALLEN COHRS / ALLEN COHRS                    §
FARMS,                                       §
                                             §
        Plaintiff,                           §
                                             §
VS.                                          §             Civil Case No. 7:23-CV-00218
                                             §
AGRILOGIC INSURANCE SERVICES,                §
LLC,                                         §
                                             §
        Defendant.                           §

 ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
            OF THE UNITED STATES MAGISTRATE JUDGE

       Pending before the Court is the May 8, 2024 Memorandum and Recommendation

(“M&R”) prepared by Magistrate Judge Peter Bray. (Dkt. No. 28). Judge Bray made

findings and conclusions and recommended that Defendant’s Motion to Dismiss, (Dkt.

No. 7), be denied as moot and Defendant’s Amended Motion to Dismiss, (Dkt. No. 21),

be granted. Judge Bray denied Plaintiff’s Motion to Abate. (Dkt. No. 24).

       The Parties were provided proper notice and the opportunity to object to the M&R.

See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b). On May 22, 2024, Plaintiff filed two

objections to Judge Bray’s M&R. (Dkt. No. 29). First, Plaintiff objects to Judge Bray’s

conclusion that equitable tolling is unavailable to Cohrs. Id. at 4–7. Second, Plaintiff

objects to Judge Bray’s conclusion that Defendant is not estopped from asserting the

Federal Arbitration Act’s time limit. Id. at 7–9. Plaintiff did not object to Judge Bray’s

denial of Plaintiff’s Motion to Abate. (Dkt. No. 24).
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       In accordance with 28 U.S.C. § 636(b)(1)(C), the Court is required to “make a de

novo determination of those portions of the [magistrate judge’s] report or specified

proposed findings or recommendations to which objection [has been] made.” After

conducting this de novo review, the Court may “accept, reject, or modify, in whole or in

part, the findings or recommendations made by the magistrate judge.” Id.; see also Fed. R.

Civ. P. 72(b)(3).

       The Court has carefully considered de novo those portions of the M&R to which

objection was made and reviewed proposed findings, conclusions, and recommendations

for plain error. Finding no error, the Court accepts the M&R and adopts it as the opinion

of the Court.

       It is therefore ordered that: Judge Bray’s M&R (Dkt. No. 28) is ACCEPTED and

ADOPTED in its entirety as the holding of the Court; and

       (1)      Defendant’s Motion to Dismiss, (Dkt. No. 7), is DENIED;

       (2)      Defendant’s Amended Motion to Dismiss, (Dkt. No. 21), is GRANTED; and

       (3)      Plaintiff’s Motion to Abate, (Dkt. No. 24), is DENIED.

       On May 31, 2024, Plaintiff filed a motion to supplement the record. (Dkt. No. 30).

On June 19, 2024, Defendant filed a response to Plaintiff’s motion to supplement the

record. (Dkt. No. 31). Because supplementation of the record would not change the result,

Plaintiff’s motion to supplement is DENIED.

       It is SO ORDERED.




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 Signed on June 28, 2024.


                                     ___________________________________
                                               DREW B. TIPTON
                                     UNITED STATES DISTRICT JUDGE




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